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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

  JEANNE WEINSTEIN, Individually
  and on behalf of all others similarly
  situated under 29 USC 216(b)

        Plaintiff,

  v.                                            Civil No. 2:19-cv-00105-RWS

  440 CORP. d/b/a The Ridge Great
  Steaks & Seafood and STEPHEN
  CAMPBELL

        Defendants.



        PLAINTIFF’S NOTICE OF FILING OPT-IN CONSENT FORMS

       Pursuant to 29 U.S.C. § 216(b), the undersigned counsel files the attached

consents on behalf of the following individuals who opt-in to this action as party-

plaintiffs:

          - Denise Bock [Ex A]
          - Angela Hunter [Ex B]




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                                     Respectfully submitted,



                                     By: /s/ Drew N. Herrmann
                                         Drew N. Herrmann
                                         (Admitted pro hac vice)
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                                         Fort Worth, Texas 76102
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                                           Facsimile: (404) 796-7338
                                           Email: ahead@headlawfirm.com
                                           (Local Counsel)

                                           ATTORNEYS FOR PLAINTIFF
                                           AND COLLECTIVE MEMBERS


                          CERTIFICATE OF SERVICE

     I certify that on December 23, 2019 a true and correct copy of the above

document will be served on counsel for Defendants via CM/ECF.

                                     /s/ Drew N. Herrmann
                                     Drew N. Herrmann

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                                        CONSENT TO JOIN FLSA LAWSUIT                                         Exhibit A

                  I understand that this lawsuit is brought under the Fair Labor Standards Act and that I may
          be eligible to join this lawsuit filed by Jeanne Weinstein (the “named plaintiff”) to recover unpaid
          wages, liquidated damages, attorneys’ fees, and costs from 440 Corp d/b/a The Ridge Great Steaks
          & Seafood and Stephen Campbell (the “Defendants”).
                  I understand that I will be bound by a judgment of the court. I will also be bound by and
          will share in any judgment by the Court or any settlement of this action.
                  I understand that I designate the named plaintiff as my agent to make decisions on my
          behalf concerning this litigation against Defendants, including the method and manner of
          conducting this litigation, entering into settlement agreements, entering into an agreement with
          Plaintiffs’ Counsel concerning representation and all other matters pertaining to this FLSA lawsuit
          against Defendants. These decisions and agreements made and entered into by the named plaintiff
          will be binding on me if I sign this consent.
                  I understand that named plaintiff has entered into a Representation Agreement
          (“Representation Agreement”) with Herrmann Law, PLLC and Head Law Firm, LLC, which
          applies to all plaintiffs who sign and file this consent. If I sign this consent, I agree to be bound by
          the Representation Agreement. I further understand that I may obtain a copy of the Representation
          Agreement by requesting it from Plaintiffs’ counsel. By signing this consent, I understand that I
          designate Drew N. Herrmann and C. Andrew Head and any other attorneys with whom they may
          associate to represent me for all purposes in this lawsuit.

                   I agree and understand that Plaintiffs’ Counsel and/or Plaintiff may in the future appoint
          other individuals to be Representative Plaintiffs in this litigation against Defendants. I consent to
          such appointment and agree to be bound by the decisions of such new Representative Plaintiff(s)
          for all purposes related to this litigation against Defendants. I further acknowledge that this consent
          is intended to be filed to recover my unpaid wages against Defendants whether in the action with
          the named plaintiff or in any subsequent action that may be filed on my behalf for such recovery.
          This consent may be used in this case or in any subsequent case as necessary.
                 I consent and agree to join this lawsuit as a “opt-in” plaintiff to pursue my claims for
          unpaid wages arising out my employment with Defendants in connection with the above-
          referenced lawsuit.

                                                                                   12/23/2019


            Signature                                                               Date

            Denise Bock

            Printed Name
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                                             CONSENT TO JOIN FLSA LAWSUIT                                     Exhibit B


                     I understand that this lawsuit is brought under the Fair Labor Standards Act and that I may
             be eligible to join this lawsuit filed by Jeanne Weinstein (the “named plaintiff”) to recover unpaid
             wages, liquidated damages, attorneys’ fees, and costs from 440 Corp d/b/a The Ridge Great Steaks
             & Seafood and Stephen Campbell (the “Defendants”).
                     I understand that I will be bound by a judgment of the court. I will also be bound by and
             will share in any judgment by the Court or any settlement of this action.
                     I understand that I designate the named plaintiff as my agent to make decisions on my
             behalf concerning this litigation against Defendants, including the method and manner of
             conducting this litigation, entering into settlement agreements, entering into an agreement with
             Plaintiffs’ Counsel concerning representation and all other matters pertaining to this FLSA lawsuit
             against Defendants. These decisions and agreements made and entered into by the named plaintiff
             will be binding on me if I sign this consent.
                     I understand that named plaintiff has entered into a Representation Agreement
             (“Representation Agreement”) with Herrmann Law, PLLC and Head Law Firm, LLC, which
             applies to all plaintiffs who sign and file this consent. If I sign this consent, I agree to be bound by
             the Representation Agreement. I further understand that I may obtain a copy of the Representation
             Agreement by requesting it from Plaintiffs’ counsel. By signing this consent, I understand that I
             designate Drew N. Herrmann and C. Andrew Head and any other attorneys with whom they may
             associate to represent me for all purposes in this lawsuit.

                      I agree and understand that Plaintiffs’ Counsel and/or Plaintiff may in the future appoint
             other individuals to be Representative Plaintiffs in this litigation against Defendants. I consent to
             such appointment and agree to be bound by the decisions of such new Representative Plaintiff(s)
             for all purposes related to this litigation against Defendants. I further acknowledge that this consent
             is intended to be filed to recover my unpaid wages against Defendants whether in the action with
             the named plaintiff or in any subsequent action that may be filed on my behalf for such recovery.
             This consent may be used in this case or in any subsequent case as necessary.
                    I consent and agree to join this lawsuit as a “opt-in” plaintiff to pursue my claims for
             unpaid wages arising out my employment with Defendants in connection with the above-
             referenced lawsuit.

                                                                                      12/23/2019


               Signature                                                               Date

               Angela Hunter

               Printed Name
